Case 2:04-cV-02420-.]DB-cgc Document 24 Filed 06/23/05 Page 1 of 2 Page|D 28

IN THE UNITED sTATEs DIsTRlcT coURT v 6
FoR THE WESTERN DISTRICT 0F TENNESSEE ‘F"£D B"’ -j'--' D"'*"

WESTERN DIVISION

05 JUN 23 AH |U-` 03
BANCORPSOUTH BANK, )

ROBERT H. Di TROL|O

. ) CLEFiK. U.S. DIST. CT.

Plamtiff, ) W.D. OF TN. MEMPHIS
)

v. ) NO. 04-2420 B/An

)
JUSTIN HERTER a/k/a BARRY J. )
HERTER, CAPITOL MANAGEMENT, )
INC., ROBERT POWELL, JANET )
POWELL, and SYLVESTRE LOREA, )
)
Defendants. )

 

ORDER SETTING SCHEDULING CONFERENCE

 

Before the Court is the Order Granting Plaintist Motion to Set Aside and/or Revise
Scheduling Order entered on June 17, 2005 by United States District Judge J. Daniel Breen.
Judge Breen has asked the Magistrate Judge to conduct a scheduling conference in this matter.

lt is therefore ORDERED that the parties shall appear for a scheduling conference to be
held before United States Magistrate Judge S. Thomas Anderson on THURSDAY, JULY 7,
2005 at 10:30 A.M. in Courtroom M-3, 9th Floor, F ederal Building, Memphis, Tennessee.
Counsel shall confer and submit a proposed Scheduling Order to the undersigned’s chambers at
least 24 hours before the conference.

IT IS SO ORDERED.

’TF .)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: , Z;, 'ZOD§'

Th|s document entered on the docket sheet |n compliance

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with Hu|e 58 andlor 79(a) FHCP on §§ v 25 QJ QLL

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02420 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

